                   Case 2:21-cv-00625-MV-KRS Document 1-1 Filed 07/07/21 Page 1 of 27




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                                                                                                     Transmittal Number: 23321279
Notice of Service of Process                                                                            Date Processed: 06/09/2021

Primary Contact:           Sherry Robinson
                           Nissan North America, Inc.
                           One Nissan Way
                           Franklin, TN 37067-6367

Electronic copy provided to:                   Angie Mathis
                                               Maribeth Riggins-Loy
                                               Catherine Reidy
                                               Steve Roberts
                                               Tonya Brooks
                                               Susan Gritton
                                               Sandy Hughes
                                               Courtney Smith
                                               Samaritan Potter

Entity:                                       Nissan North America, Inc.
                                              Entity ID Number 0505342
Entity Served:                                Nissan North America, Inc
Title of Action:                              Brandon Smith vs. Nissan Motor Co., Ltd.
Matter Name/ID:                               Brandon Smith vs. Nissan Motor Co., Ltd. (11303714)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 McKinley County District Court, NM
Case/Reference No:                            D-1113-CV-2021-00234
Jurisdiction Served:                          New Mexico
Date Served on CSC:                           06/07/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Justin R. Kaufman
                                              505-986-0600

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

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                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                   EXHIBIT A
      Case 2:21-cv-00625-MV-KRS Document 1-1 Filed 07/07/21 Page 2 of 27




                                        SUMMONS

 Eleventh Judicial District Court                   Case Number:         D-1 1 13-CV-2021
 McKinley County, New Mexico
 207 W. Hill Ave., Suite 200
 Gallup, New Mexico 87301                           Assigned Judge: Aragon, Robert A.
 Court Telephone: (505) 863-6816

 BRANDON SMITH,                                     Defendant:

                Plaintiff,                          NISSAN NORTH AMERICA, INC.
                                                    c/o CSC of Lea County, Inc., MC-
 v.                                                 CSC1, Registered Agent
                                                    726 E. Michigan Dr., Suite 101
 NISSAN MOTOR CO., LTD., and                        Hobbs, New Mexico 88240-3465
 NISSAN NORTH AMERICA, INC.,

                Defendants.

                 TO THE ABOVE NAMED DEFENDANT(S): Take notice that
1.       A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued
this Summons.
2.       You must respond to this lawsuit in writing. You must file your written response with the
Court no later than thirty (30) days from the date you are served with this Summons. (The date you
are considered served with the Summons is determined by Rule 1-004 NMRA) The Court's address
is listed above.
3.        You must file (in person or by mail) your written response with the Court. When you file
your response, you must give or mail a copy to the person who signed the lawsuit.
4.       If you do not respond in writing, the Court may enter judgment against you as requested in
the lawsuit.
5.       You are entitled to a juiy trial in most types of lawsuits. To ask for a jury trial, you must
request one in writing and pay a jury fee.
6.       If you need an interpreter, you must ask for one in writing.
7.       You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
finding a lawyer at www.mnbar.org; 1-800-876-6657; or 1-505-797-6066.

Dated at McKinley County, New Mexico, this 4th         day of    June      , 2021.

WELDON J. NEFF
CLERK OF DISTRICT COURT
                                               DURHAM, PITTARD & SPALDING, L.L.P.
    Case 2:21-cv-00625-MV-KRS Document 1-1 Filed 07/07/21 Page 3 of 27




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                                                 Signature of Attorney for Plaintiff
                                       47        Justin R. Kaufman
               s
                                                 505 Cerrillos Rd., Suite A209
                           ~                     Santa Fe, NM 87501
                                                 jkaufman@dpslawgroup.com
                                                 Telephone No.: (505) 986-0600
                                                 Facsimile: (505) 986-0632

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO
RULES OF CIVIL PROCEDURE FOR DISTRICT COURTS.




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                                                                                                    FILED
                                                                          11th JUDICIAL DISTRICT COURT
                                                                                          McKinley County
STATE OF NEW MEXICO                                                                     6/4/2021 1:10 PM
COUNTY OF MCKINLEY                                                                     WELDON J. NEFF
                                                                                   CLERK OF THE COURT
ELEVENTH JUDICIAL DISTRICT COURT                                                            Jaycelyn Etsitty
BRANDON SMITH,                                                      No. D-1113-CV-2021-00234

                              Plaintiff;

V.

NISSAN MOTOR CO., LTD., and
NISSAN NORTH AMERICA, INC.,

                              Defendants.

                      PLAINTIFF'S ORIGINAL COMPLAINT FOR
                    PERSONAL INJURY AND PUNITIVE DAMAGES

       COMES NOW Plaintiff Brandon Smith, by and through his counsel of record, and states

the following as his Original Complaint for Personal Injury and Punitive Damages against

Defendants Nissan Motor Co., Ltd. and Nissan North America, Inc. (together referred to as

"Defendants" or the "Nissan Defendants"):

                                           1.   PARTIES

       1.      Plaintiff Brandon Smith is an individual and citizen of the State of Washington.

       2.      Defendant Nissan Motor Co., Ltd. ("Nissan Motor") is a Japanese corporation that

has transacted business in the State of New Mexico at all times relevant hereto, and knowingly places

its products into the stream of commerce to be purchased by and used by consumers in the New

Mexico market, but has failed to designate an agent for service of process. Defendant Nissan Motor

will be served via the Hague Convention on the Service Abroad of Judicial and Extra Judicial

Documents in Civil and Commercial Matters.

       3.      Defendant Nissan North America, lnc. ("Nissan NA") is a California corporation duly

organized and existing pursuant to law, and is registered to transact business in the State of New
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Mexico. Defendant Nissan NA may be served with citation by serving its registered agent for service:

CSC of Lea County, Inc., MC-CSC1, 726 E. Michigan Dr., Suite 101, Hobbs, New Mexico 88240-

3465.

                     II.     JURISDICTION, VENUE, AND JOINDER

        4.     Jurisdiction over the parties and the subject matter herein is proper with this Court

pursuant to Article VI of the New Mexico Constitution and the New Mexico long-arm statute,

NMSA 1978, Section 38-1-16. Defendant Nissan NA consented to jurisdiction in New Mexico's

courts through its corporate registration and appointment of an agent for service of process,

pursuant to New Mexico law. Additionally, this Court has specific personal jurisdiction over

Defendants Nissan Motor and Nissan NA (the "Nissan Defendants") because they serve a market

for their products in New Mexico by, among other things, marketing and distributing vehicles in

New Mexico, providing service on vehicles and parts in New Mexico, providing warranties

covering products in New Mexico, and deriving income from sales, service, and repair work

performed by Defendants and their dealers in New Mexico. One of their vehicles then caused

injury to Plaintiff, a New Mexico resident, in New Mexico.

        5.     Venue is proper in McKinley County, New Mexico pursuant to NMSA 1978,

Section 38-3-1(A) and (F) because Plaintiff's cause ofaction originated in McKinley County, New

Mexico.

        6.    Joinder of Plaintiff's claims against all Defendants in this action is proper under

Rule 1-020 NMRA because Plaintiff's claims: (1) arise out of the same transaction, occurrence, or




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    Case 2:21-cv-00625-MV-KRS Document 1-1 Filed 07/07/21 Page 6 of 27




series of transactions or occurrences; and (2) questions of law and fact common to all Defendants

will arise in this action.

                                   III.     FACTUAL BACKGROUND

        7.       All previous paragraphs are incorporated by reference.

        8.       On or about December 8, 2019, Plaintiff Brandon Smith was the properly restrained

driver in a 2005 Nissan Sentra bearing VIN No. 3N1CB51D15L588252 ("the subject vehicle"),

which was struck when Robert Brooksher made an illegal turn on eastbound I-40 near milepost

marker 42.7 in McKinley County, New Mexico.

        9.       During the impact, the passive safety systems of the subject vehicle, including the

vehicle structure, failed to provide adequate occupant protection for Plaintiff because the occupant

compartment zone was destroyed when the door hinge moved rearward 12 inches, causing the

instrument panel to move rearward.

        10.       The subject vehicle was designed by the Nissan Defendants.

        11.       The subject vehicle was manufactured by the Nissan Defendants.

        12.       The subject vehicle was also assembled and tested by the Nissan Defendants.

        13.       Despite being properly seated and properly wearing the available seatbelt, Plaintiff

sustained serious injuries when the subject vehicle failed to protect him because it violated several

crashworthiness principles.

                                          Crashworthiness Overview

         14.      Crashworthiness is the science of preventing or minimizing injuries or

death following an accident through the use of a vehicle's various safety systeins. '



1        In any crashworthiness case, the distinction between the cause of an accident versus the cause of injuries is
an important one. One of the best analogies is the case of the Titanic. While the cause of hitting the iceberg has been
the subject of much debate (inattentiveness, the captain may have been drinking, they were going too fast, etc.), there
is no questioii that every passenger who entered a lifeboat that night lived, while 99% of those who went in the water


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        15.      There are five (5) recognized crashworthiness principles in the automobile

industry/throughout the world. They are as follows:

                 1)       maintain survival space;

                 2)       provide proper restraint throughout the entire accident;

                 3)       prevent ejection;

                 4)       distribute and channel energy; and

                 5)       prevent post-crash fires.

        16.      When the National Highway Traffic Safety Administration (NHTSA) created the

Federal Motor Vehicle Safety Standard (FMVSS) in the late 1960's, the preamble to the safety

standards included a crashworthiness definition similar to that used above, "that the public is

protected against unreasonable risk of crashes occurring as a result of the design, construction, or

performance of motor vehicles and is also protected against unreasonable risk of death or injury in

the event crashes do occur."

        17.      The National Transportation Safety Board (NTSB) has also stated that "vehicle

crashworthiness refers to the capacity of a vehicle to protect its occupants from crash forces. This

protection—which is achieved, in part, by vehicle structure—includes maintaining a survival space

around the occupant, retaining the occupant within that space, and reducing the forces applied to

the occupant."

        18.      Crashworthiness safety systems in a vehicle must work together like links in a

safety chain. If one link fails, the whole chain fails. For example, in a rollover, if the roof collapses




died. Accordingly, had the Titanic had enough lifeboats on board (i.e., the boat's "safety systems"), loo°/a of the
people on board would probably have lived. So, the cause of the sinking (the accident) is iirelevant vis-a-vis how
everyone died. What is important is how the safety systems worked (or did not work) following the accident.


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such that no survival space is left, it does not matter what kind of restraint system, glass, fuel

system, or energy absorbing system is used, because these systems have been rendered moot.

        19.    Automotive manufacturers have known for decades that there is a distinction

between the cause of an accident versus the cause of an injury. For instance, General Motors has

admitted this under oath. General Motors has even stated that it is irrelevant who caused an

accident, and that safety systems have to perform properly no matter who causes an accident.

                                   Duty to Make a Safe Vehicle

        20.    For decades, automobile manufacturers have been telling the general public and

others how important it is to make safe vehicles.

        21.    For instance, in 1993, General Motors stated: "Safety isn't one thing. It's

everything." Mary Barra, CEO of General Motors, testified to Congress in 2014 that "[o]ur

customers and their safety are at the center of everything we do." Jeff Boyer, Vice-President of

Global Vehicle Safety at General Motors, has stated that "[n]othing is more important than the

safety of our custoiners in the vehicles they drive."

        22.    General Motors has also stated in the past that "[t]he rich don't deserve to be

safer .... lsn't it time we realized safety is not just for the pampered and the privileged? Safety is

for all."

        23.    Lee Iacocca, former President of Ford Motor Company stated, while President and

CEO of Chrysler, that "[e]very American has the right to a safe vehicle." Gerald Greenwald,

chairman of Chrysler, then seiit a letter to every Chrysler dealership in 1988 stating that Chrysler

intended to honor that right.




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       24.          In 2012, Volvo stated that "[t]echnologies for meeting the goal of zero injuries and

fatalities are basically known today — it is a matter of how to apply, finance, distribute and

activate."

       25.          BMW has stated that BMW vehicles are designed to minimize the effects of

accidents. BMW has also stated that the cornerstone of BMW's design philosophy is "safety—

during and after an accident."

       26.          Honda believes that safety is for everyone, including for other vehicle occupants

and for pedestrians.
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           Our Philosophy,
           Honda is committed to proiriding.safe.ty for everyone.
           = not only for our own drivers. and passengers; but
           al.so for other vehicle occupants ahtl injury Mitigation
           for pedesttians.

           Through techriology and innovation,:yve are
           developing increased fevels of protectlon for the
           tlriver and all passengers• in Honda and Acura
           vehicles. As a leader, Honda looks beyond
           government. regulations, studying real world situations
           to develop hew safety techriologles,for:everyone.

           In'this.:section.you will,learn.more about our.efforts to
           make tlie world a safer place:




       27.          In 1991, Toyota said that "Toyota engineers are faced with malcing all vehicles as

safe as humanly possible."

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             28.             As far back as the 1930s, Ford has been touting to the public how much it cares

about safety. Indeed, in 1934, Ford stated that "[s]afety is the most desirable of all the

qualifications that the car of today must have."

             29.             Since that time, for decades, Ford has been representing to the public how its cars

are safe and how consumers should trust Ford when it comes to safety. For instance, the following

are some examples of Ford statements that it has made in the past:

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                WhatOne
           Car Company Can Do.
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             important contribution to safety will be                 Tlie truth is; He're attacking the iasue,of
             our eontinued eommitment to quaHly.                 safety on every front, and we intetid lo bring
             Already, Ford cars outlast Japanese cars.           you specific, detailed examples in aubseguent
             And in the last two years the quality of            messages..
             our cars, as judged by their ownen, has                 fn a business as competitive as ours, w-e
             inaeased by 489o.                                   believe safer Fords and lincolns and Mercurys
                 Ford research wll be equally unpor-             will someday mean safer Datsuns and Buicks
              tant. Safety designs begun a decade ago            and Volkswagens. So what one ear company
             are paying off now in our new smaller cars.         can do, Ford Motor Company will do.'
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                    OUR TOP PRIIO IT                                                                  R              Y.

          30.       Ford has also admitted that it has a moral obligation to reduce the risk of injury to

consumers:




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                                    ~                • C.iuseNo:40CV211611-OS; fpurgconv.fordMotorCampwrty, ei.af.
                                                       in the Lircuit Court ot /ackson County, Missouri
      ~                         ~       •- ~    +      Deposition, P,lOS, itties 12-17.

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          "We have a moral obligation to do those things that
          are feasible and practical to reduce the risk of injury
          and death to customers. We know we can't prevent
          them all, but l think we have the obligation to do
          these thinqs that are reasonable and practical."
          31.       Mazda has stated that when it comes to safety, you can never go too far.

          32.       Mazda has stated that "since drivers are human beings are fallible, Mazda offers a

range of technologies which help to prevent or reduce the damage resulting from an accident."

          33.       Below is an advertisement from Mazda wherein Mazda makes the comment that

they have made every side of their vehicles safe:



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       34.      In 2002, Mitsubishi stated, "Your safety, and the safety of your passengers, has

always been a primary concern of Mitsubishi engineers."

       35.      Another example is the following statement regarding safety from Mitsubishi:


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       36.    Regarding safety in Mitsubishi vehicles, Mitsubishi has also said: "We believe you

can't be over-prepared for the unexpected."

       37.    Kia, which is owned by Hyundai, has stated that in designing and testing its

vehicles, there's nothing Kia considers more important than safety.

       38.    Kia has stated that it strives to achieve crashworthiness results that far exceed those

required by law.

       39.    Kia has said that no one can predict a collision occurring, but you can trust a Kia

vehicle to protect you should the unforeseen happen.

       40.     Kia has further stated that Kia works tirelessly to ensure that every safety system

on its vehicles is designed to help people handle the unexpected.

       41.     Because every American has the right to a safe vehicle, because safety is for all,

and because technologies for meeting the goal of zero injuries and fatalities are basically known

today, it is incumbent upon auto manufacturers to investigate and find out what other automakers

are doing with regards to safety and to apply those same methods or technology to their own

vehicle.

       42.     Furthermore, an automaker cannot choose to use safer technology in Europe,

Australia, Japan, Korea, or some other country and refuse or fail to offer that same safety

technology to consumers in America.

       43.     It is further incumbent upon auto manufacturers to protect consumers by using

knowledge that a manufacturer has acquired over decades and decades of vehicle design, testing,

and reverse engineering of other inanufacturers' vehicles.

       44.     In fact, insofar as society permits vehicle manufacturers to operate in such a way

that they are permitted to sell highly complex, potentially dangerous, and also potentially highly




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profitable products on the market, manufacturers have a duty to do their veiy best to ensure that

the vehicle will not be harmful to buyers, their households, or third parties.

        45.    This is cemented by the fact that every state of the United States has case law which

holds that every person has a duty to exercise reasonable care to avoid a foreseeable risk of injury

to others.

                                         Nissan and Safety

        46.    For decades, the Nissan Defendants have been representing to the public how their

cars are supposedly safe, and how they supposedly care about safety. For instance, the Nissan

Defendants have stated that they "take the task of keeping you and your passengers safe just as

seriously as you do."

        47.    The Nissan Defendants have also said that, "[a]t Nissan, we believe that of all the

things an automobile is designed to do, it must make the protection of its occupants an unwavering

priority."

       48.     Furthennore, the Nissan Defendants have said that "it's clear that Nissan places an

enormous value on safety."

        49.    The Nissan Defendants have also stated that the Nissan Defendants' "commitment

to safety can be seen throughout every automobile we build. So, should an accident occur, you can

rest assured that you're surrounded by state-of-the-art safety engineering and numerous features

that have all been proven to help minimize the effects of it."

       50.     The Nissan Defendants have even gone so far as to basically state that its cars are

the most advanced on the road in terms of safety—"every vehicle we build is at the forefront of

automotive technology."




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       51.     In 2008, the Nissan Defendants said: "SHOULDN'T YOUR SAFETY BE AN

AUTOMAKER' S TOP PRIORITY? We think so." They also said that "you can never be too safe."

       52.     The above examples (and numerous others, as will be detailed at trial) make clear

that the Nissan Defendants have repeatedly stressed how they care about safety, and how they must

protect occupants in the event an accident does occur.

                                  IV.     CLAIMS FOR RELIEF

                                           COUNT 1:
               Strict Liability: Defective Design/Manufacture/Failure to Warn

       53.     Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint.

       54.     The Nissan Defendants are in the business of designing, manufacturing, testing,

assembling, marketing, and/or distributing vehicles, including the subject vehicle.

       55.     The Nissan Defendants designed, manufactured, tested, assembled, marketed,

distributed, and/or sold the vehicle that was involved in the accident that left Plaintiff with serious,

catastrophic injuries.

       56.     The subject vehicle was defective and unreasonably dangerous for its intended use.

       57.     The subject vehicle was defective at the time it left the Nissan Defendants' control.

       58.     Reasonable consumers would not have been aware of the defective condition of the

subject vehicle.

       59.     Plaintiff was not aware of the defects in the subject vehicle.

       60.     It was entirely foreseeable to and well-known by the Nissan Defendants that

accidents and incidents involving their vehicles, such as occurred herein, would on occasion take

place during the normal and ordinary use of said vehicle.




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       61.     The serious injuries to Plaintiff complained of herein occurred because the subject

vehicle was not reasonably crashworthy, and it was not reasonably fit for unintended, but clearly

foreseeable, accidents.

       62.     The subject vehicle in question was unreasonably dangerous in the event it should

be involved in an incident such as occurred herein.

        63.     The Nissan Defendants, either alone or in conjunction with some other individual(s)

ajid/or entity(ies), designed, manufactured, tested, assembled, marketed, and/or distributed said

vehicle in question.

       64.     As detailed herein, the subject vehicle contains and/or the Nissan Defendants have

created either design, manufacturing, testing, assembly, marketing, and/or distribution defects.

       65.     The Nissan Defendants either knew or should have known of at least one safer

alternative design which would have prevented the serious injuries to the Plaintiff.

       66.     Below are specific examples of how the vehicle was defective and/or unreasonably

dangerous, how the Nissan Defendants were negligent, how the Defendants misrepresented the

safety of vehicles in general, and/or how the Nissan Defendants, specifically through their false,

misleading, and/or deceptive inarketing and ads, foisted an unsafe vehicle upon the public.

       67.     In addition to the foregoing, the Nissan Defendants, either alone or in conjunction

with some other individual(s) and/or entity(ies), designed, manufactured, tested, assembled,

marketed, and/or distributed said vehicle in question to be unreasonably dangerous and defective

within the meaning of Section 402(A) Restatement (Second) Torts, in that the vehicle was

unreasonably dangerous as designed, manufactured, tested, assembled, marketed, and/or

distributed because the Nissan Defendants lcnew and/or should have known of the following, non-

exhaustive list of defects:




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       a. The subject vehicle violated principles of crashworthiness;

       b. The subject vehicle failed to distribute and channel crash forces properly
          in a frontal override, offset type impact event;

       c. The subject vehicle failed to utilize a front structure that contained
          UHSS, boron, ferrite, martensite, AHSS, complex phase or dual phase
          steel to ensure the safety cage was preserved;

       d. The subject vehicle failed to utilize 1100 MPa or greater steel in the
          front structure, cabin, rocker panel, door seat, roof structure and side
          structure;

       e. The subject vehicle's front structure crushed in an abnormal fashion
          which allowed excessive cabin intrusion;

       f. The subject vehicle allowed excessive rearward excursion of 12 inches
          for the hinge pillar and instrument panel;

       g. The subject vehicle failed to contain countermeasures to address frontal
          override and/or offset type accident events;

       h. The driver's survival space was destroyed;

       i. The driver's safety cell/cage/cabin area was destroyed;

       j.   The subject vehicle failed to contain an upper load path to address
            override impacts;

       k. The subject vehicle failed to contain any type of design to deal with
          narrow frontal offset irnpacts;

       1.   The subject vehicle failed to contain designs that it worked on during
            the ESV programs to address narrow frontal offsets;

       m. The Nissan Defendants failed to reverse engineer other vehicles to study
          frontal offset countermeasures;

       n. The Nissan Defendants bragged about the safety of its vehicles;

       o. The Nissan Defendants bragged about the state of the art and
          technological advancements of its vehicles;

       p. The Nissan Defendants bragged about being an industry leader in
          vehicle safety;




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       q. The Nissan Defendants made material misrepresentations that were not
          accurate or were false, and Plaintiff relied upon these representations;

       r. The Nissan Defendants have said that building safe vehicles is the most
          important thing we do;

      s. The Nissan Defendants have said that automobile safety is the
         foundation of Nissan automobile manufacturing;

      t. The Nissan Defendants have said that we have built a storehouse of
         safety technology since our first vehicle was built;

      u. The Nissan Defendants have said that safety is one of our foreinost
         concerns;

      v. The Nissan Defendants have said that passive safety engineering means
         to ensure occupant survival with the least injuries in as many accident
         situations as possible;

      w. The Nissan Defendants have said that safety is always on our mind;

      x. The Nissan Defendants have said that it is fully aware of its
         responsibility to produce vehicles with the best overall safety possible;

      y. The Nissan Defendants have said that they work hard to stay at the
         cutting edge of technology;

      z. The Nissan Defendants have said that they believe that safety is
         fundamental for making vehicles;

      aa. The Nissan Defendants have said that we always work to improve by
          putting forth new ideas and malcing the best of our abilities;

      bb. The Nissan Defendants have said that they believe that everyone
          deserves to be safe;

      cc. The Nissan Defendants have touted that no matter who you are and what
          you drive, everyone deserves to be safe;

      dd. The Nissan Defendants have stated that safety is of paramount
          importance;

      ee. The Nissan Defendants have stated that everything we do is to ensure
          occupant safety;




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             ff. The Nissan Defendants have stated that everyone deserves a safe
                 vehicle;

             gg. The Nissan Defendants violated consumer expectations;

             hh. The Nissan Defendants violated principles of consumer expectation by
                 giving consumers a false sense of security, and a false sense of safety;

             ii. The defects, negligence, misrepresentations, and violations of consumer
                 expectations were the direct, substantial, producing, and proxiinate
                 cause of the catastrophic injuries to Plaintiff.

       68.     At the time of the accident, Plaintiff was using the subject vehicle for a purpose and

in a manner which could be reasonably foreseen.

       69.     The Nissan Defendants could not reasonably expect that the risks of injury set forth

herein were obvious or known to foreseeable users of the subject vehicle, including Plaintiff.

       70.     One or more safer alternative designs existed that were technologically and

economically feasible, yet the Nissan Defendants failed to utilize these designs.

       71.     Plaintiff's injuries and damages were caused by a condition or conditions of the

subject vehicle which were not substantially changed or unforeseeably altered after the Nissan

Defendants placed the subject vehicle on the market.

       72.     Plaintiff's injuries and damages were caused by the defects in the subject vehicles

as outlined above.

                                             COUNT 2:
                                             Negligence

       73.     Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint.

       74.     In addition to and/or in the alternative to the product liability claims asserted herein,

Defendants were negligent in the design, manufacture, testing, assembly, marketing, and/or

distribution of the subject vehicle.


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       75.     Companies that are in the business of designing, testing, manufacturing, marketing,

distributing, and selling products are never allowed to needlessly endanger consumers.

       76.     Nothing should be more important to companies that design, manufacture, test and

sell products than consumer safety.

       77.     Because nothing should be more important than consumer safety, companies that

design, manufacture, and sell products should always analyze the product for potential hazards or

defects—at every stage of production.

       78.     In fact, for automobile manufacturers, in designing a vehicle, efforts should be

made by manufacturers to identify potential risks, hazards, and/or dangers that can lead to serious

injury or death.

       79.     Once potential rislcs, hazards, and/or dangers are identified, then the potential risks,

hazards, or dangers should be eliminated if possible.

       80.     If the potential risks, hazards, and/or dangers cannot be eliminated, then they should

be guarded against.

       81.     If the potential risks, hazards, and/or dangers cannot be eliminated or guarded

against, they should at least be warned about.

       82.     A company that does not conduct a proper engineering analysis that would help it

to identify potential risk, hazards, and/or dangers that could seriously injure someone is negligent.

       83.     Defendants owed a duty to use reasonable care in the design, manufacture, testing,

assembly, marketing, and/or distribution of the subject vehicle.

       84.     Defendants failed to use reasonable care when they designed, manufactured, tested,

assembled, marketed, distributed, and/or sold the subject vehicle, and consequently put a product
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on the market that was unreasonably dangerous for its intended or reasonably anticipated use as

discussed herein.

         85.   As noted earlier, most (if not all) engineering associations in the United States (and

around the world) have a code of ethics.

         86.   The number one fundamental canon of ethics for almost all engineers is to "hold

paramount the safety, health, and welfare of the public."

         87.   Accordingly, since paramount means "superior to all others," all vehicle engineers

have to hold the safety, health, and welfare of the public as their highest considerations when they

design vehicles. Indeed, General Motors, for instance, has admitted under oath that its engineers

have to hold paramount the safety, health, and welfare of the public, and that manufacturers have

to make efforts to identify potential risks, hazards, and/or dangers that can lead to serious injury

or death.

         88.   Ford has also testified under oath that it agrees that a vehicle engineer's primary

responsibility is to identify potential risks, hazards, and dangers that can cause serious injury or

death.

         89.   Ford has further testified under oath that Ford "has a moral obligation to do those

things that are feasible and practical to reduce the risk of injury and death to customers."

         90.   Accordingly, the Nissan Defendants had a duty to conduct a proper engineering

analysis and to conduct proper development, engineering, design, testing and engineering

analysis that would help them to identify potential risks, hazards, and/or dangers that could

seriously injure or fatally harm someone. The Nissan Defendants breached that duty.




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           91.   With respect to the subject vehicle, based upon information and/or belief, the

subject vehicle was not subjected to rigorous design, development, engineering analysis and

testing.

           92.   With respect to the subject vehicle, based upon information and/or belief, the

subject vehicle was not properly tested for the type of frontal impact that occurred in this case to

determine what countermeasures were necessary to distribute and channel energy properly, to

maintain survival space, and to contain countermeasures to address frontal offset/override type

impacts.

           93.   With respect to the subject vehicle, based upon information and/or belief, the

subject vehicle was not properly tested or analyzed to see what type of different structure designs

and/or material were needed to provide optimal occupant protection.

           94.   With respect to the subject vehicle, based upon information and/or belief, the

subject vehicle was not properly tested for the type of frontal impact that occurred in this case to

determine how the vehicle needed to be designed to provide proper occupant protection.

           95.   The Nissan Defendants' occupant protection philosophy and design philosophy are

utilized in various model vehicles, including ones sold overseas in other markets.

           96.   When the Nissan Defendants designed the subject vehicle, they did not reinvent the

wheel. The Nissan Defendants used (or should have used) an enormous amount of human capital

which had been acquired from numerous different engineers who had worked on many prior

vehicles. This knowledge would have been (or should have been) utilized in different aspects of

the designs of the vehicle to make the vehicle safer in foreseeable accidents such as what occurred

in this case.




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       97.     The Nissan Defendants are currently in exclusive possession and control of all

technical inaterials and other documents regarding the design, manufacture, and testing of the

vehicle in question. The Nissan Defendants are also in possession of what, if any, engineering

analysis was performed.

       98.     However, it is expected that after all of those materials are produced in discovery

and/or after the Nissan Defendants' employees and corporate representatives have been deposed,

additional allegations may come to light.

       99.     Lastly, the materials from other models, years, and countries will provide evidence

regarding what the Nissan Defendants knew, when they knew it, and about what was utilized or

not utilized as well as the reasons why.

       100.    The foregoing acts and/or omissions, defects, and/or negligence of the Nissan

Defendants were the producing, direct, substantial, and/or proximate cause of the serious injuries

to Plaintiff and Plaintiff's damages.

       101.    The negligent acts and omissions of the Nissan Defendants as stated above, either

singularly or in combination, were a cause of Plaintiff's injuries and damages.

                                               COUNT 3:
                                                Damages

       102.    All previous paragraphs are incorporated by reference.

       103.    As a direct and proximate result of the defective condition of the subject vehicle,

and the negligence of the Nissan Defendants detailed above, Plaintiff sustained significant injuries

and damages.

        104.   As such, Plaintiff seeks damages, including but not limited to the following:

               a)      The reasonable expenses of necessary medical care and treatment, as well
                       as nonmedical expenses, which have been required as a result of the injury,




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                        and the present cash value of inedical Ind nomnedical expenses reasonably
                        certain to be required in the future;

                 b)     Pain and suffering experienced and reasonably certain to be experienced in
                        the future by Plaintiff;              '
                                                                ;
                 c)     Loss of earnings, loss of earning capacity, loss of household services, and
                        the present cash value of earnings and h~ousehold services reasonably certain
                        to be lost in the future;               ~
                                                                i
                 d)     The nature, extent and duration of the i'njury, including disfigurement;
                                                                i
                 e)     Loss of enjoyment of life experienced and reasonably certain to be
                        experienced in the future; and    ;

                 f)     All other damages to which Plaintiff is entitled under New Mexico law.

                                              COUNT 4:
                                           Punitive Damages     ;

          105.   All previous paragraphs are incorporated by reference.

          106.   In addition to placing the unreasonably dangerous and defective subject vehicle into

the market, giving rise to strict liability and negligence liability, the Nissan Defendants also acted

intentionally, maliciously, willfully, recklessly, and/or with 'wanton disregard for the safety of

others.

          107.   Among others, these intentional, malicious, willful, reckless, and/or wanton acts

and omissions of the Nissan Defendants, either singularly; in combination, or based on the
                                                                i
cumulative conduct of employees of the Nissan Defendants, were a cause of Plaintiff's injuries
                                                                ~
and damages. Accordingly, the Nissan Defendants are liable for punitive damages.
                                                        ~
                                      V.      CONCLUSION'

          WHEREFORE, Plaintiff requests judgment against Defendants for their damages, punitive

damages, pre judgment, and post judgment interest at the le'gal rate, costs, and such other and

further relief to which Plaintiffs may be entitled under the facts and circuinstances.




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                              Respectfully submitted,

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                                                                                                    FILED
                                                                           11th JUDICIAL DISTRICT COURT
                                                                                           McKinley County
STATE OF NEW MEXICO                                                                       6/4/2021 1:10 PM
COUNTY OF MCKINLEY                                                                       WELDON J. NEFF
                                                                                    CLERK OF THE COURT
ELEVENTH JUDICIAL DISTRICT COURT                                                            Jaycelyn Etsitty

BRANDON SMITH,                                                 No.   D-1113-CV-2021-00234


               Plaintiff,

V.

NISSAN MOTOR CO., LTD., and
NISSAN NORTH AMERICA, INC.,

               Defendants.

                                         JURY DEMAND

        COMES NOW Plaintiff, BRANDON SMITH, by and through his attorneys of record,

and hereby deinands a trial by a twelve (12) person jury in this cause of action, and tenders the

appropriate fee with the filing of this application.

                                               Respectfully submitted,

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